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                                    UNITED STATES DISTRICT COURT
                                     WESTERN DISTRICT OF TEXAS
                                           AUSTIN DIVISION

       UMG RECORDINGS, INC., et al.,                   )
                                                       )
                      Plaintiffs,                      )
                                                       )
       vs.                                             )    No. 1:17-cv-00365-DAE-AWA
                                                       )
       GRANDE COMMUNICATIONS                           )
       NETWORKS LLC,                                   )
                                                       )
                      Defendant.
                                                       )

                              PLAINTIFFS’ OBJECTIONS TO
                  DEFENDANT GRANDE COMMUNICATIONS NETWORKS LLC’S
                                  TRIAL EXHIBIT LIST

              Plaintiffs submit the following Objections to Defendant Grande Communications

       Networks, LLC’s Trial Exhibit List pursuant to the Court’s Order Resetting Jury Trial and Related

       Deadlines (ECF No. 366). Pursuant to that Order, Plaintiffs reserve their Federal Rules of

       Evidence 402 and 403 objections to Defendant’s exhibits until trial. Plaintiffs further reserve the

       right to amend these objections, and to interpose additional objections, based on evidence or

       arguments that Grande presents or attempts to present at trial.



Def.’s Description                    Bates Number           Dep. Ex. (in Expects       May     Plaintiffs’
Trial                                                        absence of   to Offer      Offer   Objections
Ex.                                                          bates label)
1      Grande Internet Acceptable                            PX103                        X
       Use Policy
2      Email string from G.           RIGHTSCORP                                          X     Hearsay,
       Boswell to R. Wachunas.        00005698–                                                 Subject to
       Subject: RE: Dmca emails.      RIGHTSCORP                                                Court’s Order
                                      00005701                                                  (ECF 191)
3      Email string from G.           RIGHTSCORP                                          X     Hearsay,
       Boswell to R. Wachunas.        00005708–                                                 Subject to
       Subject: RE: Dmca emails.      RIGHTSCORP                                                Court’s Order
                                      00005711                                                  (ECF 191)


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Def.’s Description                   Bates Number       Dep. Ex. (in Expects    May     Plaintiffs’
Trial                                                   absence of   to Offer   Offer   Objections
Ex.                                                     bates label)
4      Email from                    RIGHTSCORP                                  X      Hearsay,
       info@rightscorp.com to        00005786–                                          Subject to
       legaldepartment@rightscorp    RIGHTSCORP                                         Court’s Order
       .com. Subject: Rightscorp,    00005786                                           (ECF 191)
       Inc. - Contact Inquiry.
5      Email string from R. Steele   RIGHTSCORP                                  X      Hearsay,
       to T. Fisher. Subject: FW:    00006320–
       [AB-C194663V]                 RIGHTSCORP
       Unauthorized Use of           00006323
       Copyrights RE: TC-
       624ee538-0a0e-42429d9d-
       815549b827b7.
6      Email from                                       Boswell                  X
       DMCA@DigitalRightsCorp                           8/2018 Ex.
       .com to                                          5
       abuse@mygrande.com.
       Subject: Unauthorized Use
       of Copyrights RE: TC-
       1c936d2d-f426-4c20-b32b-
       8c9022a21830
7      Email from                                       Boswell                  X
       DMCA@DigitalRightsCorp                           8/2018 Ex.
       .com to                                          6
       abuse@mygrande.com.
       Subject: Unauthorized Use
       of Copyrights RE: TC-
       1bb2382f-c908-4c16-ae24-
       1fd950181ac7
8      Email from                                       Boswell                  X
       DMCA@DigitalRightsCorp                           8/2018 Ex.
       .com to                                          7
       abuse@mygrande.com.
       Subject: Unauthorized Use
       of Copyrights RE: TC-
       0z7c08a8-36db-4ca5-84b9-
       c823e1524caf




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Def.’s Description                    Bates Number       Dep. Ex. (in Expects    May     Plaintiffs’
Trial                                                    absence of   to Offer   Offer   Objections
Ex.                                                      bates label)
9      Email string from                                 Boswell                  X      Hearsay,
       coxresponse@DigitalRights                         8/2018 Ex.                      Authenticity,
       Corp.com to                                       8
       abuse@cox.net. Subject:
       Unauthorized Use of
       Copyrights Re: TC-
       3dc7c8c8-f7bd-4dfd-b4f6-
       4b00cdff49ca
10     Email from R. Steele to G.     BMG_GRANDE                         X               Hearsay, Lack
       Boswell. Subject: Any          00000183–                                          of Foundation
       John Denver tracks need to     BMG_GRANDE
       be immediately removed         00000183
11     Excerpts of Greg Boswell       BMG_GRANDE                                  X      Hearsay
       30(b)(6) Deposition taken      00000001
       July 3, 2015 in BMG et al.
       v. Cox Enterprises, Inc. et
       al.
12     Excerpts of BMG Rights                            Boswell                  X      Hearsay
       Management (US) LLC, et                           6/2019 Ex.
       al. v. Cox Enterprises, Inc.                      3
       et al. trial transcript
13     Email from                                        Boswell
       DMCA@DigitalRightsCorp                            6/2019 Ex.
       .com to                                           4
       legal@grandecom.com.
       Subject: Unauthorized Use
       of Copyrights RE: TC-
       d8901c92-f741-4eb2-9011-
       f15bcf522cf8
14     Digital Rights Proposal        RIAA_00059923–                     X               Hearsay
       Response to Request for        RIAA_00059955
       Proposal/Request for Quote
       for Scanning, Evidence
       Management and Related
       Support for Corporate
       Infringement Program.
       V0.1 September 28, 2011.
       Proposal Date: October 12,
       2011




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Def.’s Description                    Bates Number       Dep. Ex. (in Expects    May     Plaintiffs’
Trial                                                    absence of   to Offer   Offer   Objections
Ex.                                                      bates label)
15     Correspondence from            RIAA_00060082–                     X               Hearsay
       Digital Rights to RIAA and     RIAA_00060139
       MPAA, subject Copyright
       Alert System Monitoring -
       Response to Request for
       Proposal. Request for
       Proposal/Request for Quote
       for Peer to Peer Scanning,
       Evidence Management and
       Generation of Copyright
       Infringement Reports for the
       United States dated August
       12, 2011.
16     UMG Repeat Infringer           RIAA_00059957–
       Notice and Monitoring          RIAA_00059970
       Project Proposal
17     DRC RIAA Technology            RIAA_00060010–                                     Authenticity
       Review                         RIAA_00060060
18     Joined Infractions Grande                         Boswell                  X
       P2P Sample a/k/a                                  6/2019 Ex.
       2019.02.19 Grande Samples                         9
       Data.xlsx
19     Rightscorp Source Code                                            X
       Production
20     Outputs from Rightscorp        RC-D004                            X
       Revision Control System
21     Email string from D.           UMG_00012651–                               X      Hearsay
       Benjamin to C. Sabec.          UMG_00012653
       Subject: Re: DigitalRights
22     Email string from D.           UMG_00012713–                               X      Hearsay, Lack
       Benjamin to D. Kokakis.        UMG_00012716                                       of Foundation
       Subject: Re: Digital Rights                                                       and
       (torrent sites / ISPs)                                                            Authenticity (re
                                                                                         embedded
                                                                                         Music Week
                                                                                         article)
23     Email string from D.           UMG_00012636–                               X      Hearsay
       Benjamin to M. Rothman.        UMG_00012636
       Subject: Re: DigitalRights
24     UMG Repeat Infringer           UMG_00012637–                               X
       Notice and Monitoring          UMG_00012650
       Project Proposal



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Def.’s Description                   Bates Number       Dep. Ex. (in Expects    May     Plaintiffs’
Trial                                                   absence of   to Offer   Offer   Objections
Ex.                                                     bates label)
25     Email string from D.          UMG_00007020–                               X      Hearsay
       Kokakis to M. Sammis          UMG_00007021
26     Email string from D.          UMG_00006957                                X      Hearsay
       Benjamin to A. Kautz
27     Invoices to Grande from                          Cruse Ex. 2              X
       CSG Systems, Inc.
28     Invoices to Grande from                          Cruse Ex. 3              X
       CSG Systems, Inc.
29     Email string from M. Pinto                       Cruse Ex. 8              X      Hearsay
       to J. Cruse. Subject: FW:
       Letter ids.
30     Declaration of Gregory                                                    X
       Boswell 1.17.19 (ECF No.
       173-79)
31     Email string from C.          COX0008–                                    X      Authenticity,
       Hangey to B. Beck.            COX0016                                            Hearsay,
       Subject: Re: Re: Fraudulent                                                      Subject to
       Notices being Received by                                                        Court’s Order
       Cox Customers                                                                    (ECF 191)
32     Email string from B. Beck     COX0067–                                    X      Authenticity,
       to S. Boggs, K. Weathersby,   COX0073                                            Subject to
       L. Trickey, B. Cox, J.                                                           Court’s Order
       Spalding. Subject: Re Re                                                         (ECF 191)
       FW new variant, from
       copyright@arpanet-ip.com -
       Re [Fwd Re Fraudulent
       Notices being Received by
       Cox Customers]
33     Email from B. Cox to K.       COX0181                                     X      Hearsay,
       Keever. Subject:                                                                 Authenticity,
       Privileged & Confidential                                                        Subject to
       Attorney-Client                                                                  Court’s Order
       Communications - Draft                                                           (ECF 191)
       Alert to Executive Team
34     Email string from L.          COX0047–                                    X      Hearsay,
       Trickey to S. Tanke, B.       COX0049                                            Authenticity,
       Beck, B. Cox. Subject: Re;                                                       Subject to
       Re: ip-echelon report                                                            Court’s Order
       fraudulent website links.                                                        (ECF 191)




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Def.’s Description                   Bates Number       Dep. Ex. (in Expects    May     Plaintiffs’
Trial                                                   absence of   to Offer   Offer   Objections
Ex.                                                     bates label)
35     Email string from L.          COX0110–                                    X      Hearsay,
       Trickey to B. Cox. Subject:   COX0111                                            Authenticity,
       Re Re Inquiry: DMCA                                                              Subject to
       Phishing Scam                                                                    Court’s Order
                                                                                        (ECF 191)
36     Email string from K.          COX0137–                                    X      Hearsay,
       Weathersby to S. Boggs, B.    COX0140                                            Authenticity,
       Cox, M. Morris, L. Trickey,                                                      Subject to
       S. Allen-Wang. Subject:                                                          Court’s Order
       Re Re Inquiry DMCA                                                               (ECF 191)
       Phishing Scam
37     Email string from B. Cox to   COX0457–                                    X      Hearsay,
       T. Williams. Subject: Re      COX0463                                            Authenticity,
       Re Inquiry: DMCA                                                                 Subject to
       Phishing Scam - Privileged                                                       Court’s Order
       & Confidential Attorney-                                                         (ECF 191)
       Client Communication
38     Email string from B. Beck     COX0337–                                    X      Hearsay,
       to L. Trickey, B. Cox, M.     COX0345                                            Authenticity,
       Morris, J. Spalding, T.                                                          Subject to
       Williams, K. Weathersby, S.                                                      Court’s Order
       Boggs, S. Allen-Wang, J.                                                         (ECF 191)
       Slick, S. Tanke. Subject:
       Re Re Inquiry DMCA
       Phishing Scam
39     Email from B. Beck to L.      COX0582–                                    X      Hearsay,
       Trickey. Subject:             COX0583                                            Authenticity,
       Privileged Confidential -                                                        Lack of
       most recent IP-Echelon                                                           Foundation,
       issues                                                                           Subject to
                                                                                        Court’s Order
                                                                                        (ECF 191)
40     Email string from Cox         COX0001–                                    X      Hearsay,
       Customer Safety to            COX0007                                            Authenticity,
       help@ip-echelon.com.                                                             Lack of
       Subject: Re Re [6.28.2016                                                        Foundation,
       32407747] Notice of                                                              Subject to
       Claimed Infringement from                                                        Court’s Order
       98.182.54.15 at 2016-06-                                                         (ECF 191)
       27T00: 54:54Z - Ref.
       507669320




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Def.’s Description                       Bates Number       Dep. Ex. (in Expects    May     Plaintiffs’
Trial                                                       absence of   to Offer   Offer   Objections
Ex.                                                         bates label)
41     Email from T. Williams to         COX0477–                                    X      Hearsay,
       HRD-.TOC, R. Schubert,            COX0478                                            Authenticity,
       M. Fedorko, W. Woodward,                                                             Subject to
       K. Brown, N. Pulley, CCI -                                                           Court’s Order
       Abuse Las Vegas, F.                                                                  (ECF 191)
       Kayoka, A. Roy, S. SVS, P.
       Kumar, S. Ali, N. Satti, M.
       Patnayakuni, Y.
       Kasarabada, S. Onteddu, R.
       Appam. Subject:
       Identification information
       for Fraudulent DMCA
       complaints
42     Email from B. Beck to S.          COX0050–                                    X      Hearsay,
       Boggs, K. Weathersby, L.          COX0053                                            Authenticity,
       Trickey, B. Cox, J.                                                                  Subject to
       Spalding. Subject: 4th                                                               Court’s Order
       recent variant, from                                                                 (ECF 191)
       copyright@dmca.report -
       Re: [Fwd: Re: Fraudulent
       Notices being Received by
       Cox Customers]
43     Warner Songs Spreadsheet                             Flott Ex. 2              X
44     Email from H. Singer to H.        WBR_00003457                       X               Hearsay,
       Singer. Subject:                                                                     Authenticity
       Rightscorp’s terrifying
       extortion script is
       breathtaking in its sleaze
45     Email from D. Jang to M.          SME_00003165                       X               Hearsay
       Johnson. Subject: RE:
       Rightscorp
46     Email string from M. Piibe        SME_00003177–                      X               Hearsay
       to J. Finley. Subject: Re:        SME_00003183
       Copyright - Rightscorp
47     Email string from J. Mason        SME_00002868–                               X      Hearsay
       to D. Jang. Subject: Re           SME_00002870
       MUSO
48     Sony Songs Spreadsheet                               Leak Ex. 3               X
49     Sample Rightscorp Notices                            Leak Ex. 6               X
50     Email from D. Kokakis to          UMG_00012695–                               X      Hearsay, Lack
       D. Benjamin. Subject:             UMG_00012697                                       of Foundation
       Digital Rights (torrent sites /
       ISPs)


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Def.’s Description                     Bates Number       Dep. Ex. (in Expects    May     Plaintiffs’
Trial                                                     absence of   to Offer   Offer   Objections
Ex.                                                       bates label)
51     Email from D. Benjamin to       UMG_00003701–                               X      Hearsay,
       B. Buckles. Subject:            UMG_00003702                                       Authenticity
       Canadian Govt. Outlaws                                                             and Lack of
       Bogus Piracy Notices                                                               Foundation (re
                                                                                          embedded
                                                                                          article)

52     Letter from R. Steele of        GRANDE1435465-                              X      Hearsay,
       RightsCorp to J. Holanda, J.    GRANDE1435470                                      Authenticity,
       Kramp, P. Murphy of                                                                Lack of
       Grande Communications                                                              Foundation,
53     Presentation: DigitalRights                        Sabec Ex. 4              X      Hearsay
       - Monetization of
       Copyrighted Intellectual
       Property, January 2013
54     DigitalRights Notice and        UMG_00012753–                               X      Hearsay
       Settlement Program for          UMG_00012774
       Universal Music Publishing
       Legal Positions, March
       2012
55     Presentation: DigitalRights                        Sabec Ex. 6              X      Hearsay
       - New Anti-Piracy
       Technologies and Business
       Models for Sony Pictures
56     "Rightscorp finished Sept                          Sabec Ex. 7              X      Hearsay,
       2017 with $3,147 in the                                                            Authenticity
       bank, warns investors it will
       likely have to shut down
       without more cash";
       BoingBoing.net,
       2017/11/26/circling-the-
       drain.html
57     "Rightscorp's terrifying                           Sabec Ex. 8              X      Hearsay,
       extortion script is                                                                Authenticity,
       breathtaking in its sleaze";                                                       Foundation
       BoingBoing.net
58     Script / Flow Chart             BMG-GRANDE         Sabec Ex. 9              X
                                       000000968–
                                       BMG-GRANDE
                                       000000972




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Def.’s Description                   Bates Number       Dep. Ex. (in Expects    May     Plaintiffs’
Trial                                                   absence of   to Offer   Offer   Objections
Ex.                                                     bates label)
59     Rightscorp Call Center        RIGHTSCORP                                  X
       Script, 10-23-14, Rev. G. 3   00005717–
                                     RIGHTSCORP
                                     00005746
60      Rightscorp Oct. 2016 thru    RIAA_00059813–                              X
        March 2018. Spreadsheet      RIAA_00059813
        of debit amounts
61      Email from C. Sabec to S.    RIAA_00059874–                              X      Hearsay
        Marks. Subject:              RIAA_00059874
        Rightscorp's Solution for
        the RIAA
62      Letter from C. Sabec of      RIAA_00059875–                              X      Hearsay
        Rightscorp to S. Marks of    RIAA_00059876
        Recording Industry
        Association of America
63      Email from C. Sabec to S.    RIAA_00059827–                              X      Hearsay
        Marks. Subject: Re:          RIAA_00059827
        Rightscorp's Solution for
        the RIAA
64      Rightscorp presentation.     RIAA_00059828–                              X
        Protecting the Arts.         RIAA_00059839
        Restoring Growth.
        Rightscorp's Solution for
        the RIAA - Overview
65      Rightscorp presentation.     RIAA_00059841–                              X
        Protecting the Arts.         RIAA_00059872
        Restoring Growth.
        Rightscorp's Solution for
        the RIAA - Technical
        Briefing
66      Litigation Support and       RIAA_00059818–                              X
        Consulting Agreement         RIAA_00059826
        between Recording Industry
        Association of America and
        Rightscorp, Inc.




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Def.’s Description                    Bates Number        Dep. Ex. (in Expects    May     Plaintiffs’
Trial                                                     absence of   to Offer   Offer   Objections
Ex.                                                       bates label)
67     Master Agreement between       MM000001–                                    X      Subject to Court
       DtecNet Inc. and Recording     MM000031                                            Order (ECF
       Industry Association of                                                            191)
       America Inc., effective
       December 20, 2011.
       Statement of Work No. 2
       between MarkMonitor and
       Recording Industry
       Association of America,
       Inc. dated March 30, 2015,
       with attachments
68     Statement of Work between      MM000032–                                    X      Subject to Court
       MarkMonitor Inc. and the       MM000065                                            Order (ECF
       Recording Industry                                                                 191)
       Association of America,
       executed March 22, 2013,
       with attachments
69     Email string from H. Singer    WBR_00003394–                                X      Hearsay
       to V. Sheckler, C. Horton,     WBR_00003399
       D. Jang. Subject: Re:
       follow-up
70     “A Farewell to Kings” by       UMG_00000601 -                               X
       Rush                           UMG_00000602
71     “Angel” by Aerosmith           UMG_00000035 -                               X
                                      UMG_00000036
72     “House of Balloons / Glass     UMG_00000744                                 X
       Table Girls” by the Weeknd
73     Associated with registration   SME_00000003 -                               X
       number PA0001678112            SME_00000004
74     Evidence of Merger             SME00001755                                  X      Subject of Mot.
       between Zomba Recording                                                            in Limine
       LLC and Zomba Recording                                                            Ruling
       Corporation
75     Mariah Carey Songs             UMG_00005437 -                               X      Subject of Mot.
                                      UMG_00005438                                        in Limine
                                                                                          Ruling
76     Unique secondary IDS -         RC-D_01383209 -                              X
       2bb622bb-9b8f-44cc-a66c-       RC-D_01383210
       8e12e8c39b9e and
       bff38a49-e2bd-40e6-ab7e-
       0958464ab721



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Def.’s Description                   Bates Number        Dep. Ex. (in Expects    May     Plaintiffs’
Trial                                                    absence of   to Offer   Offer   Objections
Ex.                                                      bates label)
77     Grande Residential            GRANDE2551606                                X
       Subscriber Data
78     Grande Residential            GRANDE2551619-                               X
       Customer Acquisition          GRANDE2551667
       Expense Analysis report
       (2017-2018)
79     IRU Agreement between         GRANDE2551668-                               X
       Grande Communications         GRANDE2551738
       Networks, LLC and
       NextEra FiberNet, LLC
       dated February 28, 2011
80     Grande Employee               GRANDE2551739                                X
       Compensation Report
81     RCN CapEx 2018 Forecast       GRANDE2551740-                               X
       financial report              GRANDE2551744
82     Grande and FPL Fibernet       GRANDE2551745                                X
       (Crown Castle) Capacity
       IRU details
83     Texas IRU and Purchase        GRANDE2551746-                               X
       Option Agreement between      GRANDE2551789
       Grande Communications
       Networks, LLC and
       NextEra FiberNet, LLC
       dated February 28, 2011
84     Copyright registration for    SME_00000074-                                X
       “Aquemini,” SR 264-091        SME_00000075
85     Copyright registration for    UMG_00000080-                                X
       “Paul’s Boutique,” SR 154-    UMG_00000081
       347
86     October 11, 2011 Email        RIAA_00059922                                X      Hearsay
       string from R. Steele to J.
       Pariser, cc: C. Sabec.
       Subject: RE: RFP attached.
87     November 16, 2011 Email       RIAA_00059956                                X      Hearsay
       from C. Sabec to D.
       Benjamin, cc: C. Castle, R.
       Steele, D. Hughes. Subject:
       Re: DigitalRights.




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Def.’s Description                   Bates Number        Dep. Ex. (in Expects    May     Plaintiffs’
Trial                                                    absence of   to Offer   Offer   Objections
Ex.                                                      bates label)
88     November 16, 2011 email       RIAA_00059971-                               X      Hearsay
       string from C. Sabec to D.    RIAA_00059973
       Benjamin, cc: C. Castle, R.
       Steele, D. Hughes. Subject:
       Re: DigitalRights
89     November 16, 2011 Email       RIAA_00059974                                X      Hearsay
       from C. Sabec to D.
       Hughes, cc: R. Steele.
       Subject: Draft Proposal for
       UMG.
90     UMG Repeat Infringer          RIAA_00059975-                               X
       Notice and Monitoring         RIAA_00059988
       Project Proposal Rev. 3
       (Attachment to
       RIAA_00059974)
91     Contact information for       RIAA_00059989                                X
       Christopher Sabec
92     September 26, 2011 email      RIAA_00059990                                X      Hearsay
       from R. Steele to D.
       Hughes. Subject: Non-
       CAS Pilot Program.
93     DigitalRights Settlement      RIAA_00059991-                               X
       Model Pilot Project           RIAA_00059996
       Proposal
94     DRC ISP Pilot List (3).xlsx   RIAA_00059997                                X
95     September 21, 2011 Email      RIAA_00059998                                X
       from R. Steele to D.
       Hughes, cc: C. Sabec, C.
       Harmon. Subject: Revised
       Document
96     Digital Rights and RIAA       RIAA_00059999-                               X
       Test Scope of Work            RIAA_00060000
       (Attachment to
       RIAA_00059998)
97     September 20, 2011 from R.    RIAA_00060001                                X      Hearsay
       Steele to D. Hughes, cc: C.
       Sabec. Subject: RIAA Test
       Scope.
98     RIAA Test Scope of Work       RIAA_00060002-                               X
                                     RIAA_00060005




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Def.’s Description                    Bates Number        Dep. Ex. (in Expects    May     Plaintiffs’
Trial                                                     absence of   to Offer   Offer   Objections
Ex.                                                       bates label)
99     July 21, 2011 email from R.    RIAA_00060006                                X      Hearsay
       Steele to D. Hughes.
       Subject: initial draft.
100    DigitalRights (DRC)            RIAA_00060007-                               X
       Capabilities Summary draft.    RIAA_00060008
101    July 20, 2011 email from R.    RIAA_00060009                                X      Hearsay
       Steele to D. Hughes, cc: S.
       Marks, C. Harmon.
       Subject: DRC Tech
       Briefing.
102    Copyrights Spreadsheet         RIAA_00060062                                X
103    July 21, 2011 Email from C.    RIAA_00060063                                X      Hearsay
       Harmon to S. Marks, cc: C.
       Sabec, R. Steele. Subject:
       RE: NDA.
104    July 19, 2011 letter of        RIAA_00060065-                               X      Hearsay
       agreement sent to Recording    RIAA_00060071
       Industry Association of
       America from DigitalRights
       regarding
       DigitalRights/Settlement of
       Infringement Claims
       Against Corporations.
       (Unexecuted)
105    June 27, 2011 email string     RIAA_00060072-                               X      Hearsay
       from C. Sabec to C.            RIAA_00060076
       Harmon, cc: S. Marks, R.
       Steele. Subject: Re: Digital
       Rights Corp – RIAA
       Meeting.
106    Mutual Confidentiality and     RIAA_00060077-                               X
       Non-Disclosure Agreement       RIAA_00060080
       between Rightscorp, Inc.
       and RIAA dated June 27,
       2011.




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Def.’s Description                   Bates Number        Dep. Ex. (in Expects    May     Plaintiffs’
Trial                                                    absence of   to Offer   Offer   Objections
Ex.                                                      bates label)
107    August 26, 2011 Email from    RIAA_00060081                                X      Hearsay
       C. Sabec to M. Grant, V.
       Sheckler, cc: R. Steele.
       Subject: Re:
       CONFIDENTIAL:
       RFP/RFQ for a Program in
       the US (DigitalRights
       Reponse)
108    July 20, 2011 Email from R.   RIAA_00060141                                X      Hearsay
       Steele to D. Hughes, cc: S.
       Marks, C. Harmon.
       Subject: DRC Tech
       Briefing Full
109    DRC-RIAA Technology           RIAA_00060142-                               X
       Review presentation.          RIAA_00060195
110    Copyrights Spreadsheet        RIAA_00060196                                X
111    Letters Spreadsheet           GRANDE2542672                                X
112    CSG Ticket Spreadsheet        GRANDE0000199                                X
113    CSG Ticket Spreadsheet        GRANDE0000200                                X
114    CSG Letter Templates          GRANDE1438545-                               X
                                     GRANDE1438548
115    Sony Plaintiffs’ Responses                                                 X
       to First Interrogatories
       11.3.2017
116    Sony Plaintiffs’ Responses                                                 X
       to Second Interrogatories
       4.12.2018
117    Sony Plaintiffs’ Responses                                                 X
       to Third Interrogatories
       6.6.2018
118    Sony Plaintiffs’ Responses                                                 X
       to First Requests for
       Admissions 6.6.2018
119    Universal Plaintiffs’                                                      X
       Responses to First
       Interrogatories 11.3.2017
120    Universal Plaintiffs’                                                      X
       Responses to Second
       Interrogatories 4.12.2018
121    Universal Plaintiffs’                                                      X
       Responses to Third
       Interrogatories 6.6.2018


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Def.’s Description                      Bates Number        Dep. Ex. (in Expects    May     Plaintiffs’
Trial                                                       absence of   to Offer   Offer   Objections
Ex.                                                         bates label)
122    Universal Plaintiffs’                                                         X
       Responses to First Requests
       for Admissions 6.6.2018
123    Warner Plaintiffs’                                                            X
       Responses to First
       Interrogatories 11.3.2017
124    Warner Plaintiffs’                                                            X
       Responses to Second
       Interrogatories 4.12.2018
125    Warner Plaintiffs’                                                            X
       Responses to Third
       Interrogatories 6.6.2018
126    Warner Plaintiffs’                                                            X
       Responses to First Requests
       for Admissions 6.6.2018
127    Cohen Expert Report                                                  X               Hearsay,
       Exhibit 3                                                                            Authenticity
128    Boswell Cox Deposition                                                        X      Hearsay
       Transcript
129    http://www.bittorrent.org/be                                                  X      Hearsay,
       ps/bep_0003.html                                                                     Authenticity

130     https://wiki.theory.org/index                                                X      Hearsay,
        .php/BitTorrentSpecificatio                                                         Authenticity
        n
131     Song Files Downloaded by                                                     X      Authenticity,
        Dr. Cohen as referenced in                                                          Lack of
        his Supplemental Report at                                                          Foundation, Not
        Para. 118                                                                           Produced in
                                                                                            Discovery
132     Kemmerer Exhibit JEK-1                                                       X      Hearsay

133     Kemmerer Exhibit JEK-2                                                       X      Hearsay

134     Kemmerer Exhibit JEK-3                                                       X      Hearsay

135     Kemmerer Exhibit JEK-4                                                       X      Hearsay

136     Kemmerer Exhibit JEK-5                                                       X      Hearsay




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Def.’s Description                Bates Number        Dep. Ex. (in Expects    May     Plaintiffs’
Trial                                                 absence of   to Offer   Offer   Objections
Ex.                                                   bates label)
137    Kemmerer Exhibit JEK-6                                                  X      Hearsay,
                                                                                      Authenticity,
                                                                                      Lack of
                                                                                      Foundation

138    Kemmerer Exhibit JEK-7                                                  X      Hearsay,
                                                                                      Authenticity,
                                                                                      Lack of
                                                                                      Foundation

139    Kemmerer Exhibit JEK-8                                                  X      Authenticity,
                                                                                      Lack of
                                                                                      Foundation

140    Kemmerer Exhibit JEK-9                                                  X      Hearsay, Lack
                                                                                      of Foundation

141    Kemmerer Exhibit JEK-10                                                 X      Hearsay, Lack
                                                                                      of Foundation

142    Kemmerer Exhibit JEK-11                                                 X      Hearsay,
                                                                                      Authenticity,
                                                                                      Lack of
                                                                                      Foundation

143    Kemmerer Exhibit JEK-12                                                 X      Hearsay

144    Kemmerer Exhibit JEK-13                                                 X      Hearsay,
                                                                                      Authenticity,
                                                                                      Lack of
                                                                                      Foundation

145    Kemmerer Exhibit JEK-14-                                                X      Hearsay, Lack
       SUPP                                                                           of Foundation

146    Kemmerer Exhibit JEK-15-                                                X      Hearsay, Lack
       SUPP                                                                           of Foundation

147    Kemmerer Exhibit JEK-16-                                                X      Hearsay, Lack
       SUPP                                                                           of Foundation




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Def.’s Description                   Bates Number        Dep. Ex. (in Expects    May        Plaintiffs’
Trial                                                    absence of   to Offer   Offer      Objections
Ex.                                                      bates label)
148    Kemmerer Exhibit JEK-                                                       X        Hearsay, Lack
       16A-SUPP                                                                             of Foundation

149    Kemmerer Exhibit JEK-                                                       X        Hearsay, Lack
       16B-SUPP                                                                             of Foundation

150    Kemmerer Exhibit JEK-17-                                                    X        Hearsay, Lack
       SUPP                                                                                 of Foundation

151    Kemmerer Exhibit JEK-18-                                                    X        Hearsay, Lack
       SUPP                                                                                 of Foundation

152    Kemmerer Exhibit JEK-                                                       X        Hearsay, Lack
       18A-SUPP                                                                             of Foundation

153    Kemmerer Exhibit JEK-                                                       X        Hearsay, Lack
       18B-SUPP                                                                             of Foundation

154    Kemmerer Exhibit JEK-19-                                                    X        Hearsay, Lack
       SUPP                                                                                 of Foundation

155    Email string from H. Singer   WBR_00002469-                                 X        Hearsay, Lack
       to W. Rosso. Subject: RE      WBR_00002470                                           of Foundation

       Dated: December 30, 2021                Respectfully submitted,

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                            Attorneys for Plaintiffs




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                               CERTIFICATE OF SERVICE

       The undersigned certifies that on December 30, 2021, all counsel of record who are
deemed to have consented to electronic service are being served with a copy of this document via
the Court’s CM/ECF system pursuant to Local Rule CV-5(b)(1).


                                            /s/ Daniel C. Bitting
                                            Daniel C. Bitting
